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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division


  DONALD J. TRUMP,

                         Plaintiff,                             Case No. 23-cv-21377-DPG

                 v.

  MICHAEL D. COHEN,

                         Defendant.


                       MOTION FOR LEAVE TO APPEAR TELEPHONICALLY

         Defendant Michael D. Cohen, by and through undersigned counsel moves for leave to

  allow E. Danya Perry, Esq. and Lilian M. Timmermann, Esq. to appear telephonically on his behalf

  at the September 5, 2023, discovery hearing in this matter.

         1.      On September 1, 2023, the Honorable Chief Magistrate Judge Torres entered an

  order granting Plaintiff’s Motion for Hearing and setting a discovery hearing to occur on

  September 5, 2023, at the United States Courthouse, 99 N.E. Fourth Street, Tenth Floor,

  Courtroom Five, Miami, Florida. [D.E. 54.]

         2.      Defendant’s counsel Benjamin H. Brodsky, Esq. and Max A. Eichenblatt, Esq. will

  be physically present at the hearing and will present argument to the Court. Their co-counsel, E.

  Danya Perry, Esq. and Lilian M. Timmermann, Esq., are unable to attend in-person and request

  leave of Court to appear telephonically at the hearing.

         3.      Defendant has conferred with Plaintiff’s counsel but Plaintiff’s counsel has not yet

  stated his position on the relief sought herein.

         WHEREFORE, Defendant respectfully requests that the Court enter an Order granting this

  Unopposed Motion for Leave to Appear Telephonically and allow E. Danya Perry, Esq. and Lilian
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  M. Timmermann, Esq. to appear via telephone for the upcoming September 1, 2023, discovery

  hearing in this matter.

                        CERTIFICATE OF GOOD FAITH CONFERRAL

         Pursuant to S.D. Fla. L. R. 7.1(a)(3), undersigned counsel for Defendant certifies that he

  has conferred with Plaintiff’s counsel in a good faith effort to resolve the issues raised herein, but

  that Plaintiff’s counsel has not yet stated on the relief sought.

                                                         Respectfully submitted,


                                                         By: /s/ Benjamin H. Brodsky
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                                                     Counsel for Defendant Michael D. Cohen



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this September 4, 2023, a copy of this filing was submitted

  electronically via the CM/ECF system to all parties that have entered an appearance in this case

  and on the Court’s electronic system.

                                                     By: /s/ Max A. Eichenblatt
                                                     Max A. Eichenblatt
